IN THE UNITED STATES DISTRICT COURT

MARCUS DAVID CORPORATION, and
NATIONAL AUTO FINANCE COMPANY,

FOR THE WESTERN DISTRICT OF NORTH CAROLINA Are ae Pi 9:45
CHARLOTTE DIVISION 4 . on
CIVIL ACTION NO..A: { SCV Sle Meet a aE
Melo oy 4 8,
MARIA ARELLANO CANTU, }
)
Plaintiff, }
)
Vv. ) NOTICE OF REMOVAL

)
TOWN AND COUNTRY TOYOTA, )
)
)
)
)

Defendants.
TO: THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF NORTH CAROLINA

Defendant Marcus David Corporation, d/b/a Town and Country Toyota ("Defendant
Town & Country”}, in accordance with 28 U.S.C. § 1446, hereby gives notice and does remove
to this Court the civil action bearing the caption Maria Arellano Cantu v. Town and Country
Toyota, Marcus David Corporation, and National Auto Finance Corporation, Case No. 03 CVD
15092, which is now pending in the General Court of Justice, District Court Division,
Mecklenburg County, North Carolina, for the following reasons:

1. Plaintiff filed the Complaint in the above-captioned lawsuit on or about 22
September 2003 and obtained one or more Summonses. A Summons and a copy of the
Complaint were served on Defendant Town & Country on 31 October 2003. No further
proceedings have taken place in the state court action since the service of the Summons and
Complaint on Defendant Town & Country. Copies of Plaintiff's Summons and the Complaint are
attached hereto as Exhibit 1.

2. In the Complaint, plaintiff Maria Arellano Cantu ("Plaintiff") alleges that Defendant
Town & Country failed to provide Plaintiff with all required disclosures in violation of the Federal

Truth in Lending Act, 15 U.S.C. § 1638, and Regulation Z, 12 C.F.R. § 226.18. Plaintiff also

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Case 3:03-cv-00564-CH Document 1 Filed 11/25/03 Page 1 of 13
alleges state-law causes of action against defendants based upon the same allegations for
violation of the North Carolina Retail Installment Sales Act and violation of N.C.G.S. § 75-1.1
(Complaint Jf] 16-18).

3. The United States District Court for the Western District of North Carolina has
original jurisdiction over Plaintiff's Truth in Lending Act cause of action pursuant to 15 U.S.C. §
1640(e) and 28 U.S.C. § 1331, and this lawsuit may therefore be removed to this Court
pursuant to 28 U.S.C. §§ 1331, 1367, 1441, and 1446.

4, As required by 28 U.S.C. § 1446(d), Defendant has served a written Notice of
Filing of Notice of Removal on the Plaintiff (through her counsel) and is promptly causing to be
filed a copy of the Notice of Filing of Notice of Removal with the Clerk of Superior Court for
Mecklenburg County, North Carolina, as well as a copy of the instant Notice of Removal. A
copy of that Notice of Filing of Notice of Removal is attached hereto as Exhibit 2.

5. Although “Town and Country Toyota’ is listed as a defendant in the case caption,
upon information and belief, no such lega! entity exists. Defendant Town & Country does
business as “Town & Country Toyota.”

6. Defendant Nuvell Credit Corporation, d/b/a National Auto Finance Company,
through counsel, consents to the removal of this case as evidenced by its Consent to Removal,
attached hereto as Exhibit 3.

7. The time period for filing this Notice of Removal in accordance with the
provisions of 28 U.S.C. § 1446 has not elapsed as of today’s date.

WHEREFORE, Defendant Town & Country removes this case from the District Court of

Mecklenburg County, North Carolina, to this Court.

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Case 3:03-cv-00564-CH Document 1 Filed 11/25/03 Page 2 of 13
This the 24 “day of November, 2003.

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Case 3:03-cv-00564-CH Document 1 Filed 11/25/03 Page 3 of 13

MAUPIN TAYLOR, P.A.

ny Me As By”

M. Keith Kapp
N.C. State Bar No. 8850

BY: lee. LF

Mgfcus C. Hewitt ~

“C. State Bar No. 23170
Attorneys for Defendant
Marcus David Corporation
P.O. Drawer 19764
Raleigh, NC 27619-9764
Telephone: 919-981-4000
Facsimile: 919-981-4300

  
CERTIFICATE OF SERVICE

|, Marcus C. Hewitt, do hereby certify that the foregoing or attached document was

served upon the parties of record listed below by mailing a copy thereof to their counsel of

record at the addresses indicated below with the proper postage attached and deposited in an

official depository under the exclusive care and custody of the United States Posta! Service in

Raleigh, North Carolina, on the 24 ™ day of November, 2003.

SERVED:

LaRocha M. Moore

Legal Services of Southern Piedmont, Inc.
1431 Elizabeth Avenue

Charlotte, North Carolina 28204

Erin E. Burke

Womble Carlyle Sandridge & Rice, P.L-L.C.

One Wachovia Center
Suite 3300

301 South College Street
Charlotte, NC 28202-6025

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MAUPIN TAYLOR, P.A.

BY: Ye taf?

Maréus C. Hewitt

N.C. State Bar No. 23170
Attorneys for Defendant
Marcus David Corporation
P.O. Drawer 19764
Raleigh, NC 27619-9764
Telephone: 919-981-4000
Facsimile: 919-981-4300

Case 3:03-cv-00564-CH Document1 Filed 11/25/03 Page 4 of 13
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STATE OF NORTH CAROLINA = | Dos cunixova
' Mecklenburg =... County » In The General Court Of Justice
(I) District [) Superior Court Division
amr : —
' | Maria Arellano Canna...
' 113716 Loch Loyal Dr. . CIVIL SUMMONS
| (Gy. sam. 2p . . =
"| Chatlotte, NC 28273 [4 AWAS AND PLURIES SUMMONS _
VERSUS . -. GS. TA4, Rules3 6
OF Gatendastis) Date Unginsl Satna Gourd -
Tewn and Country Toyou
Marcus David, Inc. Dote(s) Subsequens, SusTmans(es) issued
. | Nationat Auto Finance

 

 

 

To Each Of The Defendant(s) Named Below:

 

 

And AGS OF Delenciort 7 Rare And Aakress OF Dereraamn «
Town and Country Toyota Marcus David Corporation
9101 South Boulevard by and through its registered agent
Charlotte, NC 28273 CT Corporation

225 Hillsborough St.

Raleigh, NC 27603 .

 

 

 

A Givi Action Has Been Commenced Against You!

You are notified to appear and answer the complaint of the plaintiff as follows:

1. Serve a copy of your written answer to the complaint upon the plaintiff or plaintiff's attorney within thirty (30) days
‘after you have been served. You may serve your answer by delivering a copy to the plaintiff or by mailing it to the
‘plaintiff's last known address, and

2. File the original of the written answer with the Clerk of Superior Court of the county named above.

If you fail to answer the complaint, the plaintiff will apply to the Court for the relief demanded in the pompiaint.

 

  
 
 

   
   

 

 

 

 

 

 

 

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LaRocha M. Moore . 2 2 ° ,
Legal Services of Souther Piedmont, Inc.
1431 Elizabeth Avenue /
Charlotte, NC 28204
D) depay csc assistare CSC LL} Clerk OF Superior Court
(J ENDORSEMENT Date On Vaeseret = Cam Cm
| This Summons was originally issued on the date Ses
' indicated above and returned not served. AL the
: _ request of the plaintiff, the time within which ——
this Summons must be served is extended sixty (60) {]_Oemty o5¢ [i] Assistanr c5C [] Gierk OF Superior Court

 

_ days.

NOTE TO PARTIES: Many counties have MANDATORY ARBITRATION programs In which most cases where the amount in convoversy i$
‘ $15.000 ov fest are heard by an arbitrator bafore a trisl, The parves will be notified if chis case ts assigned for
mandatory arbitration, and, if so, what procedure is to be followed.

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Case 3:03-cv-00564-CH Document 1 Filed 11/25/03 Page 5 of 13
 

 

 

 

 

 

 

 

 

 

Xa
re RETURN OF SERVICE re a
| certify that this Summons and a copy of the complaint were recaived and served as follows:
DEFENDANT 1
Dace carved Tine Served Tigi OF CaTercen
Oam Oe

 

 

 

[] By delivering to the defendant named above a copy of the summons and complaint.

1 By leaving a copy of the summons and complaint at the dwelling house or usual place of abode of the defendant named,
above with a person of suitable age and discretion then residing therein. ;

As the defendant is a corparation, service was effected by delivering a copy of the surnmans and complaint to the
person named below,

Nene And Address OF Person Witt When! Cages Lal Of corporation. grvé Ute oF person copa Mt witty

 

(1 Other manner of service fspecify)

 

(J Defendant WAS NOT served for the following reason:

 

DEFENDANT 2
Date Served Tang Secved Name Of Detendam ~

Olam {) pw

CO By delivering to the defendant named above a copy of the summons and compiaint.

 

 

 

 

( By leaving a copy of the summons end complaint at the dwelling house ar usual place of abode of the defendant named
above with a person of suitable age and discretion then residing therein.

(J As the defendant is a corporation. service was effected by delivering a copy of the summons and complaint to.the »
person named below.

ame And Adiass Of fersan With whom Copies Laft ff carperauon, give Gide of person copies Jet wath)

 

 

(] Other manner of service (specify)

 

() Defendant WAS NOT served for the following reason.

 

 

 

 

Service Pee Pel [samuture OF Deputy Sheri? Making Rater
$

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[Tate OF Return — Coury OF Shgrkt

 

 

 

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NOY 12 2003 22:18 FR DAIMLERCHRYSLER SUCS48 427 4177 TO 919199814348

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; STICE

ROLINA _IN THE GENERAL COURT OF JU

STATE OF NORTH CA ___' DISTRICT COURT DIVISION
COUNTY OF MECKLENBURG ©> S7r" BILEPNUMBER: 03-CVD-15092

| PTO WADE as
MARIA ARELLANO CANTU, ) voy Mernite

; Plaintiff ay

| et eee —

| Vi.

MARCUS DAVID CORPORATION, _—)
And NATIONAL AUTO FINANCE )
COMPANY!

)

aman ane

Defendants.

 

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NO COMES Plaintiff, MARIA ARELLANO CANTU, by and through coursel, oo
complaining of Defendants, alleges and says: sae ot

an “

| .
1. jaintiff is, end xt all times complained of herein was, an adult natural person
Ms a citizen and resident of Mecklenburg County, North Carolina. >

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| : i i d ie
2. On information and belief, at all tes complained of herein Defendants,
Town and Country Toyote end Masces David Corporation were corporations
incorporated under the laws of the state of North Carolina.
3. information and belief, at all times complained of herein Defendant, Town

Country Toyota, was engaged in and doing business as Town and Country
Toyota.

4, [On information and belief, at all times complained of was etigaged in business
" ‘lat 9101 South Boulevard, Charlotte, North Carolina es a-dnly Heensed motor

vehicle dealer pursuant to Chapter 12 of Asticle 20 of the North Carolina
General Staurtes.

5. |Atall Himes relevant, hereto, the defendant regularly extended or offered Lo

| extend consumer credit for which e finance charge is or may be imposed or
which, by written agreement, is payablo in mors then four installments, and is
ths person to whom the transaction which is the subject of this action 1s
initially payable, making defendant a creditor within the meaning of TILA, 15

U.S.C. §1602(f) and Regulation Z § 226.2 (a)(17).

6. | On or about June 26, 2002, Plaintiff purchased a 2003 Metrix fom Town and
' Country Toyota.

7.| On or about September 2, 2002 Plaintiff returned to Town and Country

 

Case $.03-cv-00564-CH Document 1 Filed 11/25/03 Page 7 of 13
HOU. 12 2@@9 22:18 FR DAIMLERCHRYSLER SUCS48 427 4177 TO 9195199814088 P,@3-64

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owe Fe

Tod ta to trade the Toyots Matrix fora lease on Toyota RAV 4.

% Alfhe time that Plaintiff retumed to ‘Town and Country to lease the Toyots
RAV 4, she was advisod that she would have to pry $2500.00 to initiats the
lease.

9, Approximately a week after Plaintiff signed the lease on the Toyota RAV 4,
ght was contacted by Town and Country Toyota and advised that there were
problems with the leasc that could only be cured by purchasing the RAV 4.

|

iff paid the $2500.00 to change the RAV 4 from p lease to a purchase.

ately one month after Plaintiff paid the $2500.00 down payment 72 -
{hb RAV 4, Town and Country Toyota contacted her and sdvised her that she

wbuld have to pay an additional $200.00 because the salesperson had mode a
stake i11 valuing the Toyota Matrix at the time of the trade.

 
 
 
 
 
 
 

samen

or about November 4, 2002, Plaintiff wrecked the Toyota RAV 4. storey
aintiff's personal insurance paid $20,060.25, GAP ingurance paid SAGZ25.68, -_ _-
Plaintiff was left to pay $1830.21.
c OF 0 wat
(Truth in Lendimg Act Violation) nese

13. izintifY incorporates paragraphs 1 through ~—- above, 3s though fully
led in this Cause of Action.

14. The creditor violeted the Truth in Lending Act and Regulation Z by failing to
properly deliver all disclosures as required by the Truth in Lending Act and
veeanion Z, including the following:
| a, by failing to disclose aocurately the “finance charge”; in Violation of.
15 U.S.C. § 1638(e)(3), and Regulation Z, 12 CF.R. §§ 226.18(d) and
| 226.4;
| b. by failing to disclose accurstely the “amount finsnced” in Violation of
| 1$ US.C. § 1638 (aX2) and Regulation Z, 12 CF.R. § 226.18(b); and
! c. by failing to disclose accurately the “anzusl percentage rate”, in

violation of 15 U.S.C, § 1638(a)(4), and Regulation Z, 12 C.F.R. §

226.18(e).

15] By improperly starting to charge inteyest on the ammount financed before
actually providing the amount financed te Plaintiff, the creditor disclosed the
annual percentage rate as lower than the trac annual percentage rate.

 

Case 3:03-cv-00564-CH Document 1 Filed 11/25/03 Page 8 of 13
NOW 12 7803 22:19 FR DAIMLERCHRYSLER SVCS4B 427? 417? TO 919199814000 P.64/04
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| SECOND CAUSE OF ACTION

(Unfair and Deceptive Trade Practices)

16. ois incorporates paragraphs | through —— above, as though fully
restated! in this Cause of Action.

17. The transaction between Plaintiff and Defendants was a congumer credit sale
ject to the North Carolina Retail Installment Sales Act, Chapter 25A of the
rth Carolina General Stanuted, and the federal Truth in Lending Act
| (ATILAE)
18. Defendant's violation of the N.C. Retail Installment Sales Act and federal
LA constitutes an unfair trade practice porsuant to N.C.G.S. §75-1.1- the
ealership damaged Plaintiff through the use of unfair and deceptive trade -. seeeee

rocticwy a8 alleged herciit. ; a
Ww FORE, Plaintiff prays the Court as follows: a a
1. | Awnrd ecrual darnages to be established at trial pursuant 15 US.C. § ~
1640 (a)(3): vot
* Avan sary mtg USE FICO
3. Treble the damages awarded to defendant pursuant to N.C.G.S. §75-16,

:
|
4. Aword plaintiff costs and reasonable atiomey fees in accordance with
15 U.S.C. § 1640 and N.C.G:S, §75-16.1; and

For such other relief as the court deems appropriate.

LEGAL SERVICES OF SOUTHISN PIEDMONT, INC.

TL 4 th

LaRocha M. Moore, Attorocy

Legal Services of Southern Piedmont
1431 Elizabeth Avenue

Charlotte, North Carolina 28204
(704) 971-2622

 

 

Case 3:03-cv-00564-CH Document 1 Filed 11/25/03 Page Sof tg "A8F-°4 *™
NORTH CAROLINA IN THE GENERAL COURT OF JUSTICE
DISTRICT COURT DIVISION

MECKLENBURG COUNTY 03-CVD-15092
MARIA ARELLANO CANTU, }
)
Plaintiff, )
)
Vv, ) NOTICE OF FILING OF
) NOTICE OF REMOVAL
TOWN AND COUNTRY TOYOTA, )
MARCUS DAVID CORPORATION, and } (OTHR)
NATIONAL AUTO FINANCE COMPANY, _)
)
Defendants. )
TO: LaRocha M. Moore Erin E. Burke
Legal Services of Southern Piedmont, Inc. Womble Carlyle Sandridge & Rice, PLLC
1431 Elizabeth Avenue One Wachovia Center, Suite 3300
Charlotte, NC 28204 301 South College Street

Charlotte, NC 28202-6025

The Honorable Martha H. Curran

Mecklenburg County Superior Court

Post Office Box 37971

Charlotte, NC 28237-7971

Defendant Marcus David Corporation, d/b/a Town and Country Toyota (“Defendant
Town & Country’), hereby gives notice that this matter has been removed to the United States
District Court for the Western District of North Carolina as authorized by 28 U.S.C. §§ 1331,
1367, 1441, and 1446. Defendant Town & Country's Notice of Removal of this action to that
court is based upon federal question jurisdiction. A copy of the Notice of Removal is hereby
filed with the above-named Clerk of Court, in accordance with the provisions of 28 U.S.C. §

4446(d), and a copy has also been served upon the Plaintiff in this matter by mailing the same

to her named attorney of record.

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Case 3:03-cv-00564-CH Document1 Filed 11/25/03 Page 10 of 13
This the 74 day of November 2003.
MAUPIN TAYLOR, P.A.

BY: A. eZ, Zz

M. Keith Kapp
N.C. State Bar No. 2050

BY: ow. Left

Maréus C. Hewitt

N.C, State Bar No. 23170
Attorneys for Defendant
Marcus David Corporation
P.O. Drawer 19764
Raleigh, NC 27619-9764
Telephone: 919-981-4000
Facsimile: 919-981-4300

RALEIGH 397598 1

Case 3:03-cv-00564-CH Document1 Filed 11/25/03 Page 11 of 13
CERTIFICATE OF SERVICE

|, Marcus C. Hewitt, do hereby certify that the foregoing or attached document was

served upon the parties of record listed below by mailing a copy thereof to their counsel of

record at the addresses indicated below with the proper postage attached and deposited in an

official depository under the exclusive care and custody of the United States Postal Service in

Raleigh, North Carolina, on the Z4™ day of November, 2003.

SERVED:

LaRocha M. Moore

Legal Services of Southern Piedmont, Inc.
1431 Elizabeth Avenue

Charlotte, North Carolina 28204

Erin E. Burke

Womble Carlyle Sandridge & Rice, P.L.L.C.

One Wachovia Center
Suite 3300

301 South College Street
Charlotte, NC 28202-6025

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MAUPIN TAYLOR, P.A.

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Margis C. Hewitt  !
N.C, State Bar No. 23170
Attorneys for Defendant
Marcus David Corporation
P.O. Drawer 19764
Raleigh, NC 27619-9764
Telephone: 919-981-4000
Facsimile: 919-981-4300

Case 3:03-cv-00564-CH Document1 Filed 11/25/03 Page 12 of 13
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
CHARLOTTE DIVISION

CIVIL ACTION NO.
MARIA ARELLANO CANTU,
Plaintiff,
V. CONSENT TO REMOVAL
TOWN AND COUNTRY TOYOTA,
MARCUS DAVID CORPORATION, and
NATIONAL AUTO FINANCE COMPANY,
Defendants.

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TO: THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA

Defendant Nuvell Credit Corporation, d/b/a National Auto Finance Corporation, through
counsel, hereby consents to the removal to the United States District Court for the Western
District of North Carolina the civil action bearing the caption Maria Arellano Cantu v. Town and
Country Toyota, Marcus David Corporation, and National Auto Finance Company, Case No. 03
CVD 15092, which is now pending in the General Court of Justice, District Court Division,
Mecklenburg County, North Carolina

This, the es “day of November, 2003.

WOMBLE CARLYLE SANDRIDGE
& RICE, P.L.L.C.

ae

Erin E. Burke

N.C, Bar No. 241O
One Wachovia Center
Suite 3300

301 South College Street
Charlotte, NC 28202-6025
Attorneys for Defendant
Nuvell Credit Corporation

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Case 3:03-cv-00564-CH Document1 Filed 11/25/03 Page 13 of 13
